
242 Or. 562 (1966)
410 P.2d 824
IN RE COMPLAINT AS TO THE CONDUCT OF JAMES E. BRANT, ACCUSED
Supreme Court of Oregon.
Submitted January 26, 1966.
Accused permanently disbarred February 9, 1966.
No appearances.
Before McALLISTER, Chief Justice, and PERRY, SLOAN, GOODWIN, DENECKE, HOLMAN and LUSK, Justices.
ACCUSED PERMANENTLY DISBARRED.
PER CURIAM.
The accused, Brant, was charged with eight causes of complaint. There were seven specific charges of misconduct. Generally, they alleged that defendant gave a false answer to a question in his application for the bar examination relative to prior criminal conduct; that on more than one occasion he willfully ignored *563 lawful orders of a circuit court; that he misrepresented facts to a circuit judge and that he represented conflicting interests in a divorce proceeding. The eighth charge was a general allegation that his conduct was such that a present application for admission to the bar would be denied.
The able trial committee found him guilty of most of the charges and recommended permanent disbarment. The Board of Governors entered like findings and the same recommendation as to punishment.
There is no reason to review the evidence contained in this record. The more serious charges were met by vague denial, unbelievable explanations or by unjustified claims of mitigation. The evidence sustains the findings and recommendations of the trial committee and the Board of Governors. It is clear that if one seeking admission to the Oregon State Bar had been guilty of the conduct established by the evidence in this record his application would be denied. ORS 9.470.
The accused is permanently disbarred.
